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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        LYDIA OLSON; MIGUEL PEREZ;                 No. 21-55757
        POSTMATES, INC., (Successor
        Postmates LLC); UBER                         D.C. No.
        TECHNOLOGIES, INC.,                       2:19-cv-10956-
                     Plaintiffs-Appellants,         DMG-RAO

          v.
                                                     OPINION
        STATE OF CALIFORNIA; ROB
        BONTA, in his capacity as Attorney
        General of the State of California,
                       Defendants-Appellees.

                Appeal from the United States District Court
                   for the Central District of California
                  Dolly M. Gee, District Judge, Presiding

               Argued and Submitted En Banc March 20, 2024
                         San Francisco, California

                            Filed June 10, 2024

          Before: Mary H. Murguia, Chief Judge, and Ronald M.
         Gould, Jacqueline H. Nguyen, Mark J. Bennett, Bridget S.
           Bade, Kenneth K. Lee, Gabriel P. Sanchez, Holly A.
          Thomas, Salvador Mendoza, Jr., Roopali H. Desai and
                  Anthony D. Johnstone, Circuit Judges.
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                           Opinion by Judge Nguyen


                                  SUMMARY*


               Equal Protection/California Assembly Bill 5

            In an action brought by Postmates, Inc., Uber
        Technologies, Inc., and two individuals challenging the
        constitutionality of California Assembly Bill 5, enacted by
        the California legislature to address a systemic problem of
        businesses improperly characterizing their workers as
        independent contractors to avoid fiscal responsibilities owed
        to employees, the en banc court affirmed the district court’s
        dismissal of plaintiffs’ state and federal Equal Protection
        claims and its denial of preliminary injunctive relief.
            A.B. 5 does not directly classify any particular workers
        as employees or independent contractors. Rather, under A.B.
        5, as amended, arrangements between workers and referral
        agencies that provide delivery or transportation services are
        automatically subject to the ABC test adopted by the
        California Supreme Court in Dynamex Operations W., Inc.
        v. Superior Ct., 416 P.3d 1 (Cal. 2018), while arrangements
        between workers and referral agencies that provide other
        types of services, such as dog walking or handyman services,
        are subject to the multifactor test set forth in S.G. Borello &
        Sons, Inc. v. Dep’t of Indus. Rels., 769 P.2d 399 (Cal. 1989),
        provided certain statutorily defined criteria are met.


        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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            Under the deferential rational basis standard, the en banc
        court concluded that there were plausible reasons for treating
        transportation and delivery referral companies differently
        from other types of referral companies, particularly where
        the legislature perceived transportation and delivery
        companies as the most significant perpetrators of the
        problem it sought to address—worker misclassification.
        That A.B. 5 may be underinclusive because it does not
        extend the ABC test to every industry and occupation that
        has historically contributed to California’s misclassification
        woes does not render it unconstitutionally irrational.
            The en banc court did not disturb the prior panel’s
        disposition of plaintiffs’ Due Process, Contract Clause, and
        Bill of Attainder claims. Accordingly, the en banc court
        reinstated Parts III.B, III.C, and III.D of Olson v. California,
        62 F.4th 1206, 1220–23 (9th Cir. 2023).



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                                  OPINION

        NGUYEN, Circuit Judge:
            Drawing the line between “employee” and “independent
        contractor” is a difficult task, with significant consequences
        for workers and businesses, that has long vexed courts and
        lawmakers across the country. California is no exception.
            In an effort to address what it perceived as a systemic
        problem of misclassification—that is, businesses improperly
        characterizing their workers as independent contractors to
        avoid fiscal responsibilities owed to employees—the
        California legislature enacted Assembly Bill 5. See Act of
        Sept. 18, 2019, ch. 296, 2019 Cal. Stat. 2888 (A.B. 5). A.B.
        5 does not directly classify any particular workers as
        employees or independent contractors. Rather, A.B. 5
        provides that workers in certain industries who meet specific
        criteria will be subject to one test to ensure proper
        classification, while others will be subject to another such
        test. It is an elaborate statutory scheme providing various
        conditions, exemptions, and exclusions from exemptions
        that, taken together, reflect the California legislature’s
        judgment as to how the fraught task of classifying workers
        as employees or independent contractors is best performed.
            We must decide whether A.B. 5’s differential treatment
        of app-based work arrangements in the transportation and
        delivery service industry, on the one hand, and app-based
        work arrangements in other industries, on the other hand,
        survives rational basis review. In other words, we must
        determine whether it was rational for the California
        legislature to apply one test to determine the classification of
        Uber drivers and a different test to determine the
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        classification of dogwalkers who provide services through
        Wag!, the “Uber for dogs.”
            Under the deferential rational basis standard, we
        approach A.B. 5 with “a strong presumption of validity,” and
        we will invalidate it only if Plaintiffs negate “every
        conceivable basis” which might justify the lines it draws.
        FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 314–15
        (1993). Plaintiffs have failed to carry that burden here.
        There are plausible reasons for treating transportation and
        delivery referral companies differently from other types of
        referral companies, particularly where the legislature
        perceived transportation and delivery companies as the most
        significant perpetrators of the problem it sought to address—
        worker misclassification.
           We therefore affirm the district court’s orders granting
        Defendants’ motion to dismiss and denying Plaintiffs’
        motion for a preliminary injunction.
                                      I.
            We begin with an overview of how California courts
        have historically grappled with the issue of worker
        classification before turning to the legislature’s enactment of
        A.B. 5 and the procedural history of the present case.
                                      A.
            Throughout much of the 20th century, California courts
        classifying workers as “employees” or “independent
        contractors” under various state employment laws applied
        the common law “control of details” test. See S.G. Borello
        & Sons, Inc. v. Dep’t of Indus. Rels., 769 P.2d 399, 403–04
        (Cal. 1989). Under this test, the primary question was
        “whether the person to whom service is rendered has the
        right to control the manner and means of accomplishing the
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        result desired.” Id. at 404 (quoting Tieberg v. Unemp. Ins.
        Appeals Bd., 471 P.2d 975, 977 (Cal. 1970)).
            But in Borello, the California Supreme Court
        “recognized that the ‘control’ test, applied rigidly and in
        isolation, is often of little use in evaluating the infinite
        variety of service arrangements.” Id. While emphasizing
        that the “right to control the manner and means of
        accomplishing the result desired” remained the primary
        consideration, the Borello court identified several other non-
        exhaustive, secondary factors that it deemed “logically
        pertinent to the inherently difficult determination whether a
        provider of service is an employee or an excluded
        independent contractor for purposes of workers’
        compensation law.” Id. at 404, 407. Those factors, which
        were drawn from the Restatement Second of Agency and
        case law from other jurisdictions, include the right to
        discharge at will, whether the worker is engaged in a distinct
        occupation or business, the skills required in the particular
        occupation, whether the worker supplies her own tools, the
        length or degree of permanence of the working relationship,
        and whether or not the work is an integral part of the regular
        business of the hiring principal. Id. The Borello court held
        that when determining whether a worker is an employee or
        an independent contractor, courts must balance these factors
        and evaluate service arrangements based on their specific
        facts. Id. at 407.
            For nearly three decades, California courts followed
        Borello and applied the multifactor balancing test to classify
        workers as employees or independent contractors. That
        changed in 2018, when the California Supreme Court held
        that a different test applied to determine “whether workers
        should be classified as employees or as independent
        contractors for purposes of California wage orders” issued
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        by the state Industrial Welfare Commission. Dynamex
        Operations W., Inc. v. Superior Ct., 416 P.3d 1, 5 (Cal.
        2018). Recognizing that the proper classification of a
        worker “has considerable significance for workers,
        businesses, and the public generally,” and acknowledging
        the “significant” risk of workers being misclassified by
        businesses seeking to avoid fiscal obligations owed to
        employees, the Dynamex court adopted the “ABC test” to
        determine whether a worker is subject to California wage
        orders. Id. at 4–5, 7.

                Under the ABC test,
                a worker is properly considered an
                independent contractor to whom a wage
                order does not apply only if the hiring entity
                establishes: (A) that the worker is free from
                the control and direction of the hirer in
                connection with the performance of the work,
                both under the contract for the performance
                of such work and in fact; (B) that the worker
                performs work that is outside the usual course
                of the hiring entity’s business; and (C) that
                the worker is customarily engaged in an
                independently established trade, occupation,
                or business of the same nature as the work
                performed for the hiring entity.

        Id. at 7.
            The ABC test places the burden on the hiring entity to
        establish that a worker is an independent contractor, and the
        hiring entity’s failure to establish any one of the ABC factors
        “will be sufficient in itself to establish that the worker is
        an . . . employee” included in the wage order. Id. at 40. The
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        Dynamex court opined that the ABC test “provide[s] greater
        clarity and consistency, and less opportunity for
        manipulation, than a test or standard that invariably requires
        the consideration and weighing of a significant number of
        disparate factors on a case-by-case basis.” Id. It also noted
        that the ABC test adequately accounts for the “traditional
        independent contractor who has never been viewed as an
        employee of a hiring business and should not be interpreted
        to do so.” Id. at 40 n.32. The Dynamex decision left the
        Borello test in place for purposes of classifying workers
        under labor and employment laws other than wage orders.
        Id. at 29.
                                     B.
            The legislature was quick to embrace the California
        Supreme Court’s ruling in Dynamex. Concerned with the
        widespread misclassification of workers, the legislature
        enacted A.B. 5 in 2019. A.B. 5 codified the California
        Supreme Court’s Dynamex decision and extended the
        application of the ABC test beyond wage orders to other
        labor and employment legislation, including workers’
        compensation, unemployment insurance, and disability
        insurance. A.B. 5 § 2. The legislature’s stated intent in
        enacting A.B. 5 was “to ensure workers who are currently
        exploited by being misclassified as independent contractors
        instead of recognized as employees have the basic rights and
        protections they deserve under the law,” and to restore these
        important rights and protections, “including a minimum
        wage, workers’ compensation if they are injured on the job,
        unemployment insurance, paid sick leave, and paid family
        leave,” to “potentially several million workers.” A.B. 5
        § 1(e).
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            While A.B. 5 expanded the reach of the ABC test beyond
        wage orders, it also exempted certain occupations from the
        application of that test, including, for example, physicians,
        certain licensed professionals, and commercial fishermen.
        See A.B. 5 § 2. Under A.B. 5, the Borello test continues to
        apply to determine the employee or independent contractor
        status of individuals engaged in those professions. Id. A.B.
        5 also included an exemption for referral agencies, or
        “business[es] that provide[] clients with referrals for service
        providers to provide services.”               Cal. Lab. Code
        § 2777(b)(C). A.B. 5 provides that the Borello test, rather
        than ABC test, applies to the relationship between a referral
        agency and a service provider if certain statutorily defined
        criteria are met.1 In deciding which occupations and service
        relationships may be exempt from automatic application of
        the ABC test, “California weighed several factors: the
        workers’ historical treatment as employees or independent
        contractors, the centrality of their task to the hirer’s business,
        their market strength and ability to set their own rates, and
        the relationship between them and their clients.” Am. Soc’y
        of Journalists & Authors, Inc. v. Bonta, 15 F.4th 954, 965



        1
          A.B. 5 states that “the determination whether the service provider is an
        employee of the referral agency shall be governed by Borello, if the
        referral agency demonstrates that” each of the enumerated conditions are
        satisfied. A.B. 5 § 2. Those conditions include showing the worker is
        free from the control of the agency, that the worker provides their own
        tools and supplies, that the worker is customarily engaged in an
        independently established business of the same nature as that involved
        in the work performed for the client, and that the worker is free to set
        their own rates, hours, and terms of work. Id. These factors reflect
        similar considerations as those articulated in Borello. Compare Cal. Lab.
        Code § 2777(a) (listing conditions), with Borello, 769 P.2d at 404 (listing
        factors).
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        (9th Cir. 2021) (citing Cal. Bill Analysis, A.B. 5 (July 10,
        2019)).
            One year later, the legislature amended A.B. 5 with
        additional exemptions to the ABC test for various
        professions and occupations, such as certain musical
        recording professionals, live performers, insurance
        underwriters, and real estate appraisers. See Act of Sept. 4,
        2020, ch. 38, 2020 Cal. Stat. 1836 (A.B. 2257).2 At the same
        time that A.B. 2257 added these exemptions, it also revised
        the applicable definition of “referral agencies” to expressly
        exclude ten enumerated types of services, including
        “businesses that provide . . . delivery, courier, [and]
        transportation . . . services.”        Cal.    Lab.     Code
        § 2777(b)(2)(C). In other words, under A.B. 5 as amended,
        arrangements between workers and referral agencies that
        provide delivery or transportation services are automatically
        subject to the ABC test, while arrangements between
        workers and referral agencies that provide other types of
        services, such as dog walking or handyman services, are
        subject to the multifactor Borello test—provided the hiring
        referral agency can show that the eleven statutory criteria
        described in California Labor Code section 2777(a) are
        satisfied.
            It is this differential treatment that Plaintiffs challenge in
        this action.




        2
          The legislature also amended A.B. 5 to add an exemption to the ABC
        test for certain newspaper distributors and carriers. See Act of Oct. 2,
        2019, ch. 415, § 1, 2019 Cal. Stat. 3747, 3750.
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                                     C.
            Plaintiff Postmates, Inc. (Postmates) is a network
        company that provides and maintains an online marketplace
        and mobile platform that connects local merchants,
        consumers, and drivers to facilitate the purchase and
        delivery of goods from merchants—often restaurants. When
        consumers place orders through the Postmates app, nearby
        drivers can elect to pick up the order from a local merchant
        and complete the requested delivery.
            Plaintiff Uber Technologies, Inc. (Uber) is also a
        network company that operates app-based platforms that
        connect individual consumers with providers. Uber offers
        the UberEats, Uber Rides, and Uber Driver mobile
        platforms. The UberEats app, like the Postmates app,
        connects merchants, consumers, and drivers to facilitate the
        delivery of food orders. The Uber Rides app allows riders
        to connect with available drivers based on their location.
        The Uber Driver app connects app-based drivers to those
        requesting rides.
            Plaintiff Lydia Olson uses the Uber Driver mobile
        platform to connect with riders in need of transportation.
        Plaintiff Miguel Perez uses the Postmates app to accept and
        complete deliveries of food orders.
                                     D.
            On December 30, 2019, Olson, Perez, Uber, and
        Postmates (collectively Plaintiffs) jointly filed a complaint
        against the State of California and the Attorney General of
        California (collectively Defendants) seeking declaratory,
        injunctive, and other relief based on their allegations that
        A.B. 5 violates the Equal Protection Clauses, the Due
        Process Clauses, and the Contract Clauses of the United
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        States and California Constitutions.       They sought a
        preliminary injunction to prevent Defendants from enforcing
        A.B. 5.
            The district court denied Plaintiffs’ motion for
        preliminary injunctive relief. See Olson v. California, No.
        CV 19-10956-DMG (RAOx), 2020 WL 905572 (C.D. Cal.
        Feb. 10, 2020). Evaluating the factors set forth in Winter v.
        Natural Resources Defense Council, Inc., 555 U.S. 7 (2008),
        the district court first determined that Plaintiffs were
        unlikely to succeed on the merits of their claims. 2020 WL
        905572, at *5. It determined that A.B. 5 was rationally
        related to a legitimate state interest and did not
        unconstitutionally target gig economy companies. Id. at *6.
        The district court rejected Plaintiffs’ claims that A.B. 5’s
        many exemptions undermined its stated purpose of
        protecting workers because the exemptions aligned with
        “traditional distinctions between independent contractors
        and employees.” Id. at *8. The district court also
        determined that A.B. 5 did not deprive gig workers of the
        right to pursue a career in violation of due process, id. at *10,
        nor did A.B. 5 unconstitutionally impair Plaintiffs’
        contracts, id. at *11. Turning to the other Winter factors, the
        district court deemed Plaintiffs’ alleged harm “speculative”
        and found that the balance of equities and public interest
        weighed against issuing injunctive relief. Id. at *14–16. The
        district court later dismissed Plaintiffs’ First Amended
        Complaint. See Olson v. California, No. CV 19-10956-
        DMG (RAOx), 2020 WL 6439166, at *12 (C.D. Cal. Sept.
        18, 2020).
            Plaintiffs appealed the district court’s denial of the
        preliminary injunction. In November 2020, shortly before
        we heard argument in that appeal, California voters
        approved Proposition 22 (Prop. 22), a ballot initiative that
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        classifies rideshare and delivery drivers—like Plaintiffs
        Olson      and    Perez—as     independent      contractors,
        notwithstanding A.B. 5 or any other provision of law. See
        Cal. Bus. & Prof. Code § 7451. Prop. 22 took effect on
        December 16, 2020, in accordance with the default rule
        provided by the California Constitution. See Cal. Const. art.
        II, § 10(a).
            After Prop. 22 passed, but before we issued a decision in
        the appeal of the preliminary injunction, Plaintiffs filed the
        operative Second Amended Complaint.3 Defendants moved
        to dismiss the Second Amended Complaint for failure to
        state a claim. The district court granted the motion. Olson
        v. Bonta, No. CV 19-10956-DMG (RAOx), 2021 WL
        3474015 (C.D. Cal. July 16, 2021). It incorporated by
        reference its previous order dismissing Plaintiffs’ claims as
        pled in the First Amended Complaint. Id. at *1. The district
        court determined that Plaintiffs’ new allegations concerning
        the amendments to A.B. 5 and Prop. 22 did not rescue their
        claims. Id. at *10.
            Plaintiffs timely appealed that order. We granted
        Plaintiffs’ motion to consolidate the appeals of the order
        denying the preliminary injunction and the order dismissing
        Plaintiffs’ claims.
            A three-judge panel reversed in part, concluding that the
        district court erred by dismissing Plaintiffs’ Equal Protection
        claims. See Olson v. California, 62 F.4th 1206, 1218–20
        (9th Cir. 2023). The panel concluded that Plaintiffs
        plausibly alleged that “the exclusion of thousands of workers


        3
         Plaintiffs’ Second Amended Complaint included a new claim that A.B.
        5 violates the Bill of Attainder Clauses of the United States and
        California Constitutions.
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        from the mandates of A.B. 5 is starkly inconsistent with the
        bill’s stated purpose of affording workers the ‘basic rights
        and protections they deserve.’” Id. at 1219 (quoting A.B. 5
        § 1(e)).
           Upon the vote of a majority of nonrecused active judges,
        we granted rehearing en banc and vacated the three-judge
        panel decision. Olson v. California, 88 F.4th 781 (9th Cir.
        2023).4
                                           II.
            We have jurisdiction under 28 U.S.C. § 1291. We
        review de novo a district court order granting a motion to
        dismiss for failure to state a claim. See Tingley v. Ferguson,
        47 F.4th 1055, 1066 (9th Cir. 2022).
                                           III.
            As a preliminary matter, we agree with the parties that
        the passage of Prop. 22 does not moot this appeal. There are
        ongoing state enforcement actions seeking retrospective
        relief, including civil penalties, for Uber’s and Postmates’
        alleged violations of A.B. 5 that transpired prior to Prop.
        22’s effective date. The extent of Uber’s and Postmates’
        liability in those enforcement actions would be affected by
        our resolution of the constitutional challenge to A.B. 5, given
        that Prop. 22 does not apply retroactively. See Lawson v.
        Grubhub, Inc., 13 F.4th 908, 914 (9th Cir. 2021). The parties
        therefore continue to maintain a concrete interest in the
        outcome of this litigation, and the appeal is not moot. See

        4
          The panel affirmed the district court’s dismissal of Plaintiffs’ Due
        Process claims, Contract Clause claims, and Bill of Attainder claims.
        We do not disturb the panel’s disposition as to those claims.
        Accordingly, we reinstate Parts III.B, III.C, and III.D of Olson, 62 F.4th
        at 1220–23.
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        Fritsch v. Swift Transp. Co. of Ariz., 899 F.3d 785, 791 (9th
        Cir. 2018).
                                     IV.
             Plaintiffs bring Equal Protection claims under the federal
        and California constitutions. We address these claims
        together because “[t]he equal protection analysis under the
        California Constitution is ‘substantially similar’ to analysis
        under the federal Equal Protection Clause.” RUI One Corp.
        v. City of Berkeley, 371 F.3d 1137, 1154 (9th Cir. 2004)
        (citing Los Angeles Cnty. v. S. Cal. Tel. Co., 196 P.2d 773,
        781 (Cal. 1948)).
            The Equal Protection Clause prohibits a state from
        “deny[ing] to any person within its jurisdiction the equal
        protection of the laws.” U.S. Const. amend. XIV, § 1; Cal.
        Const. art. I, § 7 (“A person may not be . . . denied equal
        protection of the laws.”). Plaintiffs do not allege that A.B. 5
        employs suspect classifications, nor does their Equal
        Protection claim allege that A.B. 5 impinges on fundamental
        rights—we therefore apply rational basis review to their
        claims. See Hodel v. Indiana, 452 U.S. 314, 331 (1981).
        Under this standard, A.B. 5 “carries with it a presumption of
        rationality,” and we must uphold it if “the legislative means
        are rationally related to a legitimate governmental purpose.”
        Id.
                                      A.
            To establish an Equal Protection claim, Plaintiffs must
        demonstrate “that a class that is similarly situated has been
        treated disparately.” Ariz. Dream Act Coal. v. Brewer, 757
        F.3d 1053, 1063 (9th Cir. 2014) (quoting Christian Gospel
        Church, Inc. v. City & Cnty. of San Francisco, 896 F.2d
        1221, 1225 (9th Cir. 1990)). The comparator groups “need
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        not be similar in all respects, but they must be similar in
        those respects relevant to the Defendants’ policy.” Id. at
        1064 (citing Nordlinger v. Hahn, 505 U.S. 1, 10 (1992)).
        Once Plaintiffs identify a similarly situated class that is
        treated disparately under A.B. 5, they must also negate
        “every conceivable basis which might support” such
        disparate treatment. Armour v. City of Indianapolis, 566
        U.S. 673, 685 (2012) (quoting Madden v. Kentucky, 309 U.S.
        83, 88 (1940)).
            Plaintiffs contend that other app-based companies like
        Wag!, which provides on-demand dog-walking, and
        TaskRabbit, which provides on-demand help with daily
        tasks like handyman work, are functionally identical “in all
        relevant aspects” to Uber and Postmates. The complaint
        alleges that “service providers who use TaskRabbit and
        Wag! have the same patterns of use as the ‘drivers’ and
        ‘couriers’ who use Uber and Postmates.” Wag!’s business
        model, Plaintiffs allege, is so similar to Uber’s that Wag! is
        referred to as “Uber for dogs.” And, according to Plaintiffs,
        these similarly situated comparators are treated differently
        under A.B. 5 because Uber drivers and Postmates couriers
        are automatically subject to the ABC test, while Wag!
        dogwalkers and TaskRabbit handymen are not.5
           According to Plaintiffs, whether Uber drivers and Wag!
        dogwalkers are similarly situated for Equal Protection
        purposes is an issue of fact—one that is not amenable to


        5
          To be clear, A.B. 5 does not automatically subject dogwalkers or
        handymen to the Borello test. Rather, the Borello test is applied to those
        service providers if, and only if, the hiring entity can establish the eleven
        criteria set forth in California Labor Code section 2777(a). See supra p.
        12 n.1. If a hiring entity fails to establish any one of those criteria, the
        ABC test will apply to classify the worker. See Cal. Lab. Code § 2775.
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        resolution at the motion to dismiss stage. While a
        complaint’s “[t]hreadbare recital” that another class is
        similarly situated will not suffice to survive a motion to
        dismiss, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), we
        recognize that determining whether a comparator is “similar
        in those respects relevant to the Defendants’ policy” may be
        a fact-specific inquiry. Brewer, 757 F.3d at 1063 (citing
        Nordlinger, 505 U.S. at 10). But we need not engage in such
        an inquiry here. Even if we assume that Uber and Postmates
        are similarly situated to Wag! and TaskRabbit, and that A.B.
        5 treats Uber and Postmates disparately from those similarly
        situated comparators, Plaintiffs’ Equal Protection claim
        nevertheless fails. There are rational reasons for that
        disparate treatment.
            When conducting rational basis review of economic
        legislation that disparately treats similarly situated groups,
        we ask whether “there is any reasonably conceivable state of
        facts that could provide a rational basis for the
        classification.” Beach Commc’ns, Inc., 508 U.S. at 313. We
        need not rely on the legislature to proffer its actual rationale
        motivating the legislation—or any rationale, for that matter.
        See Nordlinger, 505 U.S. at 15. We may consider any
        “purposes the legislature, litigants, or district court have
        espoused,” but we are not limited to those reasons—we may
        consider “any other rational purposes possibly motivating
        enactment of the challenged statute.” Mountain Water Co.
        v. Mont. Dep’t of Pub. Serv. Regul., 919 F.2d 593, 597 (9th
        Cir. 1990) (emphases added) (citing Kadrmas v. Dickinson
        Pub. Schs., 487 U.S. 450, 457–58, 463 (1988)). And so long
        as there is some conceivable legitimate purpose justifying
        the statute, we need not inquire into the legislature’s actual
        purpose in enacting it. Raidoo v. Moylan, 75 F.4th 1115,
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        1121 (9th Cir. 2023) (citing Beach Commc’ns, Inc., 508 U.S.
        at 315).
            The stated purpose of A.B. 5 is to address the
        “misclassification of workers,” which the California
        legislature described as a “significant factor in the erosion of
        the middle class and the rise in income inequality.” A.B. 5
        § 1(c). By codifying and expanding the reach of the
        California Supreme Court’s decision in Dynamex, the
        legislature sought to restore important workplace protections
        and rights to potentially several million workers who were
        “exploited by being misclassified as independent contractors
        instead of recognized as employees.” Id. § 1(e). Plaintiffs
        do not contest that protecting workers, stemming the erosion
        of the middle class, and reducing income inequality are
        legitimate state interests. We therefore turn our focus to
        whether A.B. 5’s distinction between transportation and
        delivery referral services, on the one hand, and other types
        of referral services on the other, is rationally related to this
        stated purpose. We conclude that it is.
            While Plaintiffs allege that Uber and Wag! have
        functionally identical business models, that similarity alone
        does not compel us to conclude that there is no rational
        reason to treat those apps differently. One explanation for
        such a distinction is that the legislature perceived Uber,
        Postmates, and other transportation and delivery services as
        more substantial contributors to the problem of
        misclassification than referral agencies engaged in other
        services. As we recently observed in a different case
        challenging the rationality of A.B. 5, it is certainly
        “conceivable that misclassification was more rampant in
        certain industries and therefore deserving of special
        attention.” Am. Soc’y of Journalists & Authors, Inc., 15
        F.4th at 965. To the extent that it perceived Uber, Postmates
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        and other transportation and delivery app-based services as
        posing a greater risk of misclassification than Wag! or
        TaskRabbit, the California legislature acted rationally by
        “strik[ing] at the evil where it is felt and reach[ing] the class
        of cases where it most frequently occurs.” Silver v. Silver,
        280 U.S. 117, 124 (1929); see also Angelotti Chiropractic,
        Inc. v. Baker, 791 F.3d 1075, 1086 (9th Cir. 2015)
        (recognizing that “[t]argeting the biggest contributors” to a
        perceived problem “is certainly rationally related to a
        legitimate policy goal”). It is not necessary that such a
        perception be supported by “evidence or empirical data.”
        Beach Commc’ns, Inc., 508 U.S. at 315.
            According to Plaintiffs, Wag! is sometimes referred to as
        “Uber for dogs.”         While Plaintiffs allege that this
        underscores the similarity between Uber and Wag!, it also
        highlights another plausible justification for their disparate
        treatment. The legislature may have perceived Uber as the
        pioneer of the on-demand app-based business model that
        many other services replicated. It is certainly reasonable for
        the legislature to try to target the problem of
        misclassification at its origin. See Angelotti Chiropractic,
        791 F.3d at 1085–86 (recognizing that a legislature may
        approach a problem incrementally by targeting the worst
        offenders).
            Considering the statutory scheme in its entirety further
        reinforces our conclusion that the legislature acted rationally
        in pursuing its intended goals. Under A.B. 5, even so-called
        “exempted” services like Wag! and TaskRabbit must satisfy
        eleven statutory criteria before the relationship between
        those agencies and their service providers are actually
        exempted from the ABC test. In other words, to avoid
        application of the ABC test, Wag! must show that its
        dogwalkers are “free from the control and direction of the
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        referral agency in connection with the performance of the
        work for the client, both as a matter of contract and in fact,”
        along with ten other requirements, including that a
        dogwalker provide her own tools and supplies, set her own
        hours and terms of work, and that dogwalkers are free to
        accept or reject rates set by clients. Cal. Lab. Code
        § 2777(a). These statutory criteria ensure that the exemption
        to the ABC test is only available where service providers
        working through referral agencies display hallmarks of
        traditional independent contractor status, as articulated in
        Dynamex and Borello. The limited availability of the
        exemption in the referral agency industry reflects the
        legislature’s rational choice to preserve the traditional
        distinctions between independent contractors and employees
        and leave the Borello test in place only for those workers
        who faced little risk of misclassification.
                                      B.
            Nevertheless, Plaintiffs argue that A.B. 5 is an
        unconstitutionally irrational means of achieving California’s
        stated interest of addressing misclassification. Relying on
        Merrifield v. Lockyer, 547 F.3d 978 (9th Cir. 2008), and
        Fowler Packing Co. v. Lanier, 844 F.3d 809 (9th Cir. 2016),
        Plaintiffs argue that A.B. 5’s numerous broad exemptions
        contradict that purpose and roll back the protections of
        Dynamex and the ABC test for millions of workers,
        including workers in industries with demonstrated histories
        of misclassification. As already noted, the exemptions
        carved out by the legislature plausibly reflect its
        determination that workers in certain occupations and
        industries bore closer resemblance to traditionally lawful
        independent contractors. See Am. Soc’y of Journalists &
        Authors, Inc., 15 F.4th at 965.          And as Plaintiffs
        acknowledge, Dynamex itself applied only to wage-order
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        claims, while A.B. 5 was, in Plaintiffs’ words, a “sea
        change” that expanded the ABC test to cover a vast array of
        previously unavailable employment benefits, even as it
        exempted certain workers. Those benefits include “a
        minimum wage, workers’ compensation if they are injured
        on the job, unemployment insurance, paid sick leave, and
        paid family leave.” A.B. 5 § 1(e).
            That A.B. 5 may be underinclusive because it does not
        extend the ABC test to every industry and occupation that
        has historically contributed to California’s misclassification
        woes does not render it unconstitutionally irrational. See
        Vance v. Bradley, 440 U.S. 93, 108 (1979); see also
        Brandwein v. Cal. Bd. of Osteopathic Exam’rs, 708 F.2d
        1466, 1471–72 (9th Cir. 1983) (“[T]he legislature may take
        piecemeal steps which only partially ameliorate a perceived
        evil and create some disparate treatment of affected
        parties.”). Even accepting as true Plaintiffs’ allegation that
        A.B. 5 rolled back more protection than it extended, that is
        insufficient to overcome rational basis review because “the
        law need not be in every respect logically consistent with its
        aims to be constitutional.” Williamson v. Lee Optical of
        Okla. Inc., 348 U.S. 483, 487–88 (1955). Whether A.B. 5,
        with all of its expansions and exemptions, will have a net
        effect of improving or worsening misclassification and
        income inequality remains to be seen, but that is entirely
        irrelevant for our purposes. To consider whether the law is
        actually effective in achieving its stated goals would require
        us to second guess a legitimate “legislative choice” and
        engage in “courtroom fact-finding.” Beach Commc’ns, Inc.,
        508 U.S. at 315. The Equal Protection Clause does not give
        us license to do so. Id. at 313.
             Plaintiffs further argue that A.B. 5 is irrational because
        it arbitrarily “singles out” network companies for disfavored
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        treatment. But the statute’s referral agency provision plainly
        excludes not just Uber and Postmates—or any particular
        network company—but all referral-based businesses that
        provide “janitorial, delivery, courier, transportation,
        trucking, agricultural labor, retail, logging, in-home care, or
        construction services other than minor home repair.” Cal.
        Lab. Code § 2777(b)(2)(C). Such a broad definition that
        sweeps in many different companies across many different
        industries can hardly be said to “single out” Plaintiffs for
        uniquely disfavored treatment. And as the district court
        correctly observed, the decision to extend the exemption to
        some network companies while withholding it from other
        network companies demonstrates that the legislature did not
        arbitrarily target all app-based network companies.
            Our decisions in Fowler Packing and Merrifield do not
        call for a contrary result. In Fowler Packing, the state did
        not offer, nor could we conceive of, any explanation for cut-
        off dates in a statute that specifically carved out three
        specific employers, including the plaintiff, from a safe
        harbor that was extended to all other employers. 844 F.3d at
        816. Fowler Packing merely required us to apply the settled
        rule that “legislatures may not draw lines for the purpose of
        arbitrarily excluding individuals.” Id. at 815. Rather than
        excluding individual employers from the application of the
        ABC test, A.B. 5 provides a complex framework that
        subjects certain categories of workers to the ABC test and
        other categories of workers to the Borello test, based on
        statutorily defined conditions and criteria.
            Plaintiffs’ reliance on Merrifield is similarly unavailing.
        In Merrifield, we considered a state law that “singl[ed]
        out . . . three types of vertebrate pests” from a licensure
        requirement for non-pesticide-using pest controllers. 547
        F.3d at 991. We determined that the law did not survive
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        rational basis review because “those exempted [from the
        licensure requirement] under the current scheme are more
        likely to be exposed to pesticides” than those who were not
        exempted. Id. Thus, when applying the state’s own
        rationale for requiring controllers to obtain a license, we
        found that “rationale so weak that it undercut[] the principle
        of non-contradiction.” Id. For the reasons already
        discussed, the same is not true of A.B. 5. The exemptions
        available in A.B. 5 plausibly reflect the legislature’s view
        that certain industries and occupations posed a diminished
        risk of misclassification, and the legislature added in
        safeguards, like those contained in California Labor Code
        section 2777(a), to ensure that the exemption from the ABC
        test would only be available to those hiring entities that could
        meet a threshold showing that their workers bear the
        hallmarks of traditional independent contractors.6
           Finally, Plaintiffs argue that A.B. 5 was motivated by
        impermissible animus and political favoritism. Because we
        have identified plausible legitimate purposes motivating
        A.B. 5 and the lines it draws between workers in different
        industries and occupations, we need not further address these
        arguments. See Animal Legal Def. Fund v. Wasden, 878
        F.3d 1184, 1200 (9th Cir. 2018) (“When the politically
        unpopular group is not a traditionally suspect class, a court

        6
          Defendants argue Merrifield was wrongly decided and invite us to
        expressly overrule that decision. We decline to do so, as we have already
        made clear that “Merrifield stands for the unremarkable proposition that
        no rational basis exists if the law lacks any legitimate reason for its
        adoption.” S.F. Taxi Coal. v. City & Cnty. of San Francisco, 979 F.3d
        1220, 1225 (9th Cir. 2020); id. (recognizing that Merrifield “provides an
        outer limit to the state’s authority if the state’s action borders on
        corruption, pure spite, or naked favoritism lacking any legitimate
        purpose”).
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        may strike down the challenged statute under the Equal
        Protection Clause ‘if the statute serves no legitimate
        governmental purpose and if impermissible animus toward
        an unpopular group prompted the statute’s enactment.’”
        (quoting Mountain Water Co., 919 F.2d at 598)); Beach
        Comm’ns, Inc., 508 U.S. at 315 (“[I]t is entirely irrelevant
        for constitutional purposes whether the conceived reason for
        the challenged distinction actually motivated the
        legislature.”).
                                      V.
            In evaluating the constitutionality of A.B. 5 under the
        Equal Protection Clause, we ask whether “plausible reasons”
        exist for the law. We find that they do. We therefore
        conclude that the district court correctly dismissed Plaintiffs’
        Equal Protection claims. And because Plaintiffs’ suit was
        properly dismissed, the district court properly denied
        preliminary injunctive relief.
           AFFIRMED.
